          Case 6:16-bk-06473-CCJ          Doc 66     Filed 10/03/17      Page 1 of 12




                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION
                                www.flmb.uscourts.gov

In re:                                               Case No. 6:16-bk-06473-RAC
Lottie Stough Smith                                  Chapter 7

       Debtor                     /

                     CHAPTER 7 TRUSTEE’S MOTION TO APPROVE
    (A) AN ONLINE SALE OF REAL PROPERTY FREE AND CLEAR OF LIENS,
      CLAIMS, ENCUMBRANCES, AND INTERESTS PURSUANT TO 11 U.S.C.
 § 363(b), (f), (k), AND (m); (B) BID PROCEDURES; (C) SURCHARGE AGREEMENT
   BETWEEN SECURED LENDER AND THE ESTATE; (D) SECURED LENDER’S
                     RIGHT TO CREDIT BID; AND (E) OTHER RELIEF

       Marie E Henkel, Chapter 7 Trustee (the “Trustee”), the duly appointed Chapter 7 Trustee

for the above referenced debtor (the “Debtors”), by and through her undersigned counsel,

pursuant to Sections 105 and 363 of the Bankruptcy Code hereby files this motion (“Motion”)

for entry of an order, for authority to sell certain real property free and clear of all liens,

encumbrances, and interests.    In support thereof, the Trustee respectfully states as follows:

                                           JURISDICTION

                1.    This Court has jurisdiction to consider this Motion pursuant to

28 U.S.C. §§ 157 and 1334. This matter is a core proceeding within the meaning of

28 U.S.C. § 157(b)(2)(A), (M), (N), and (O).

                2.    Venue is proper before this Court pursuant to 28 U.S.C. §§1408 and 1409.

                3.    The basis for the relief requested are 11 U.S.C. §§ 363(b), (f), ( k ) ,

and (m), and Federal Rules of Bankruptcy Procedure 2002 and 6004.
             Case 6:16-bk-06473-CCJ         Doc 66     Filed 10/03/17     Page 2 of 12



                                            BACKGROUND

               4.     On September 30, 2016 the Debtor commenced this case by filing a

voluntary petition for relief under Chapter 7 of the United States Bankruptcy Code (the “Petition

Date”).

               5.     Marie E. Henkel is the duly appointed and qualified Chapter 7 Trustee.

               6.     The Trustee held and concluded the 341 meeting of creditors on November
15, 2016.

               7.     The Debtors scheduled a 100% ownership interest in the real property

 located at 4525 Ponkan Road, Apopka, FL 32712 (the “Property”) and legally described as

 follows:

          The West Half of the East Half of the Southeast Quarter of the Southwest Quarter of

 Section 23, Township 20 South, Range 27 East, Orange County, Florida, less the South 30 feet

 for road.

          Parcel No. 23-20-27-0000-00-055

               8.     The Debtor scheduled the Property as having a value of $430,670.00

subject to a mortgage in favor of U.S. Bank National Association (the “Secured Creditor”),

serviced by Select Portfolio (the “Servicer”), in the amount owed on the Petition Date of

approximately $599,145.00.

               9.        The Trustee, after review of, among other things, the Court file in this

 case, and a current title report provided by the Secured Lender as well as a brokers opinion on

 value of the Property provided by the Secured Creditor, determined that an online bid and “Short

 Sale” of the real property, in cooperation with and agreement of the Secured Creditor, is the best

 way for the estate to realize any benefit from the Property and generate any value for the estate.

                10.     The Secured Creditor has represented and warranted that it possesses a

 valid, perfected, enforceable and unavoidable first mortgage lien on the Property by virtue of a
                                                 2
            Case 6:16-bk-06473-CCJ            Doc 66    Filed 10/03/17     Page 3 of 12



 promissory note and mortgage recorded in the official Records of Orange County, dated

 02/02/2007, O.R. Book 9290, Page 1947 and assigned in O.R. Book 9756, Page 4364, and that

 as of the Petition Date, the total amount due to the Secured creditor is $599,145.00 (the

 “Secured Creditor Indebtedness”).

                               RELIEF REQUESTED

               12.     The Trustee requests the entry of an order pursuant to Section 363 of the

Bankruptcy Code approving the sale of the Property by online “Short Sale” (as defined below),

using the services of BK Global Real Estate Services (as defined below), free and clear of all liens,

claims, encumbrances, and interests. As a material inducement to the Trustee’s decision to pursue

the proposed sale, the Secured Creditor consents to the Property’s sale and the creation of a

Bankruptcy Estate Fee fund (the “Bankruptcy Estate Fee Fund”) that will provide for the costs of

this case to be paid and provide a recovery for unsecured creditors. The Trustee requests that any

creditor (other than the Secured Creditor) asserting an interest or secured claim against the Property

be required to assert no later than 5 days prior to the hearing on the instant Motion, and substantiate

the basis for such asserted interest or secured claim, or the Court will authorize the sale of the

Property free and clear of any such asserted interest or security interest, with such claims, at best,

being treated as a general unsecured claim.

                                         BASIS FOR RELIEF

                A.      The Online Sale of the Property Should Be Approved

               13.     The Trustee seeks the Court’s authority to sell the Property free and clear

of all liens, claims, encumbrances, and interests, but otherwise “As-Is, Where-Is” and without

representations or warranties of any type, express or implied, being given by the Trustee and

his/her professionals, pursuant to the online bid process described herein below.

               14.     Pursuant to Section 363(b) of the Bankruptcy Code, a trustee, after notice

 and hearing, may use, sell, or lease property of the Debtor’s estate other than in the ordinary
                                               3
               Case 6:16-bk-06473-CCJ             Doc 66       Filed 10/03/17        Page 4 of 12



    course of business. The Court should approve the sale if the Trustee can demonstrate a sound

    business justification for the sale and if the sale process is fair, open, and reasonable. See Official

    Comm. Of Unsecured Creditors of LTV Aerospace & Defense Co. v. LTV Corp. (In re

    Chateaugay Corp.), 973 F.2d 141, 143 (2d Cir. 1992); see also In re Sarah’s Tent, LLC, 396

    B.R. 571, 573 (Bankr. S.D. Fla. 2008).           Further, Bankruptcy Rule 6004(f) provides that all

    sales not in the ordinary course of business may be conducted by private sale or by public auction.

                  15.     The Trustee, through the services of BK Global Real Estate Services

(“BKGRES”), intends to offer the Property for private sale to the public through an online bid

process (the “Online Sale”) following a 21-day multi-channel marketing campaign with

marketplace exposure on BKGLisitings.com, Trulia and Zillow. During the 21-day marketing

period, Kavita Uttamchandani (the “Listing Agent”) will also list the Property on the Multiple

Listing Service and hold at least two open houses, to the extent possible.                       The Online Sale

of the Property will commence after the 21-day marketing period per the advertised and applicable

start and end dates/times.       If the Property receives a bid that is sufficient to meet the Reserve

Price 1 then the Property will be sold to the winning bidder. If the Reserve Price is not met by

the end of the first Online sale in which the property is placed,                BKGRES will then advertise

for a second 7-day period and place the property for Online Sale again to commence one week

later. If the Reserve Price is not met at the second Online Sale, BKGRES will advertise and

commence a third Online Sale one week later. In summary, unless the Reserve Price is met,

BKGRES will run three consecutive Online Sales in three consecutive weeks in order to provide

the Property with sufficient exposure to the marketplace. If the Reserve Price is not met at the

third Online Sale, the Secured Creditor will then utilize its right pursuant to 11 U.S.C. §363(k)

to purchase the Property by credit bid in the amount of the Reserve Price. As part of this


1
 The Reserve Price shall be the agreed upon sale price that is short of the Secured Creditor Indebtedness amount
that the Secured Creditor will accept for the sale of the Property.
                                                            4
            Case 6:16-bk-06473-CCJ          Doc 66     Filed 10/03/17     Page 5 of 12



process, the Trustee and BKGRES will use the Online Sale procedures, described below, to

maximize the value of the Property.

               16.     Given the Online Sale procedures outlined herein, including but not limited

 to, online marketing and the retention of an independent real estate broker as well as the Online

 Sale, the Trustee believes that the proposed Online Sale will facilitate a sale that will produce a

 reasonable sale price that will serve the best interests of the bankruptcy estate and its creditors.

 As such, the Trustee, in the exercise of his/her business judgment, submits that the sale price

 resulting from the Online Sale will be fair and reasonable.

               17.    The Trustee and BKGRES will use the following procedures to conduct

the Online Sale and sale of the Property.

                       a.         Property to be Sold: The Property that is offered at
                       the Online Sale shall be sold pursuant to Section 363 of the
                       Bankruptcy Code free and clear of all liens, claims, encumbrances,
                       and interests, but otherwise “As-Is, Where-Is” and without
                       representations or warranties of any type given by the Trustee and
                       his/her professionals.

                       b.       The Online Sale Date: The first “Online Sale Date” will
                       be a date selected by BKGRES that is at least 21 days following
                       the entry of an order approving this Motion; provided however
                       that the Online Sale Date may be adjourned from time to time by
                       posting a notice of adjournment on BKGRES’s website
                       www.BKGListings.com.

                       c.      Registration Process: Each party wishing to participate
                       in the Online Sale shall submit an on-line registration form on the
                       website established by BKGRES for the Online Sale to
                       qualify as a bidder.        The registration form shall, among
                       other things, (i) contain such information as reasonably
                       requested by BKGRES to identify the potential bidder and (ii)
                       require an earnest money deposit payment (in an amount to be
                       determined by BKGRES in consultation with the Trustee), which
                       deposit will be held by either the Listing Broker or an approved
                       Escrow Agent. The earnest money will either (a) not be forfeited,
                       if the bidder is not the winning bidder, (b) not be forfeited, if the
                       bidder is the winning bidder and timely consummates the sale
                       pursuant to the Sale Documents, or (c) may be forfeited, if the
                       bidder is the winning bidder but fails to timely consummate the
                       sale, including fails to execute the Sale Documents promptly
                                                 5
Case 6:16-bk-06473-CCJ      Doc 66     Filed 10/03/17    Page 6 of 12



        following completion of the Online Sale. The Secured Creditor
        shall be deemed to be a qualified bidder at the Online Sale and
        shall not be required to submit a registration form or deposit.
        BKGRES, in consultation with the Trustee, shall have the right to
        disqualify any potential bidder as a qualified bidder if such bidder
        fails to complete the registration process.

        d.        Bid Procedure: Prior to the commencement of the first
        Online Sale Date, the Secured Creditor shall provide a written
        notice (the “Secured Creditor Notice”) to the Trustee and
        BKGRES of the amount of its credit bid pursuant to Section
        363(k) of the Bankruptcy Code. The Secured Creditor Notice
        shall also include the following information: (i) a minimum
        purchase price for the sale of the Property acceptable to the
        Secured Creditor (the “Reserve Price”); (ii) the Secured Creditor’s
        initial credit bid amount to serve as the opening bid for the Online
        Sale (the “Opening Bid”), which Opening Bid may be less than
        the Reserve Price; and (iii) the bidding increment(s) (“Bidding
        Increments”) for each round of bidding after the Opening Bid.
        The Bidding Increment may be adjusted upwards or downwards
        during the Online Sale for each bidding round in the discretion of
        BKGRES to facilitate the most competitive bidding.              The
        Secured Creditor Notice shall be the sole authorization required
        by the Trustee and BKGRES to consider the submission of the
        Opening Bid and any competing bid(s) by the Secured Creditor
        pursuant to Section 363(k) of the Bankruptcy Code.

        e.     Winning Bid Amount: The “Winning Bid Amount” shall
        be the highest or otherwise best bid selected by the Trustee
        and BKGRES, consistent with the Secured Creditor Notice,
        during the Online Sale.

        f.      BKGRES’ Commission:          In all Online Sale cases,
        BKGRES shall be paid a commission (the “BKGRES
        Commission”) equal to two percent (2%) of the Winning Bid
        Amount if the winning bidder is a third party buyer, or a
        BKGRES Commission equal to two percent (2%) of the
        Winning Bid Amount if the winning bidder is the Secured
        Creditor, which shall be paid at closing directly to BKGRES.
        BKGRES shall not be entitled to any other compensation.
        BKGRES shall not split or otherwise share the Commission with
        any other person or entity, except a $ 500.00 fee will be paid from
        the BKGRES Commission to the listing agent if the winning bidder
        is the Secured Creditor. The estate shall not be responsible or
        obligated to pay any compensation to BKGRES.

        g.       Total Purchase Price: The actual total purchase
        price (“Total Purchase Price”) at closing will be equal to the
        Winning Bid Amount.
                               6
Case 6:16-bk-06473-CCJ      Doc 66     Filed 10/03/17    Page 7 of 12



        h.      Listing Agent’s Commission:         The Listing Agent
        shall receive up to 4% of the Winning Bid Amount for any
        sale that closes to a third party buyer (the “Listing
        Agent Commission”). No Listing Agent Commission shall be
        paid when the highest bid is the Secured Creditor’s credit bid.
        The Listing Agent shall not be entitled to any other
        compensation. The Listing Agent shall not split or otherwise
        share the Listing Agent Commission with any other person or
        entity, except that if the buyer is represented by a real estate
        agent, the Listing Agent and buyer’s real estate agent may split or
        share the Listing Agent Commission by agreement.              The
        Secured Creditor agrees to pay the Listing Agent Commission
        when earned and the estate shall not be responsible or obligated
        to pay any compensation to the Listing Agent.

        i.       Bankruptcy Estate Fee Fund & Closing Insurance:
        In order to provide for the payment of expenses in this
        Chapter 7 case and to afford general unsecured creditors an
        opportunity to participate in any recovery from the sale of the
        Property, the Secured Creditor has agreed that: (1) if the Winning
        Bid Amount is less than the allowed amounts owing to the
        Secured Creditor, then the Bankruptcy Trustee will receive (a)
        4% of the Winning Bid Amount plus the Listing Agent’s
        Commission; or (b) 4% of the Reserve Price, in the event the
        Secured Creditor enters the winning bid (collectively the
        “Standard Carve- Out”); provided however that the Standard
        Bankruptcy Estate Fee shall never be less than $9,500 exclusive
        of the Listing Agent’s Commission; (2) if the Winning Bid
        Amount exceeds the amounts owing to the Secured Creditor, then
        the portion which exceeds the amounts owing to the Secured
        Creditor and any valid and substantiated junior secured
        lienholder (the “Surplus”) shall be retained by the Chapter 7
        Trustee and no Bankruptcy Estate Fee shall be paid; however, if
        the Surplus is less than the Standard Bankruptcy Estate Fee set
        out above by any amount (“Short Surplus Amount”) then the
        Secured Creditor consents to paying the Bankruptcy Trustee an
        amount equal to the Short Surplus Amount; and (3) the Trustee
        shall be provided additional insurance by the Secured Creditor
        covering the Trustee and the estate from liability during the sale
        process and up through and including the closing on any sale.
        The cost of the insurance shall be billed directly to the Secured
        Creditor and the expense of the insurance shall not be paid by
        the estate, but shall be paid by the Secured Creditor.

        j.       Back-Up Bidder:       BKGRES shall be authorized,
        but not required, to accept the second highest bid submitted
        during the Online Sale as a “back-up” bid in the event that the


                                 7
              Case 6:16-bk-06473-CCJ             Doc 66      Filed 10/03/17       Page 8 of 12



                          winning bidder fails to consummate the sale transaction. 2

                          k.      Sale Documents: Within 5 days following the closing of
                          the Online Sale, the winning bidder shall execute a sale agreement
                          or other applicable sale documents as required by the Trustee (the
                          “Sale Documents”).

               18.       Accordingly, the Trustee submits that the sale of the Property pursuant to

the above Online Sale process is reasonable under Section 363(b) of the Bankruptcy Code.

                 B. The Sale of the Property Should Be Approved Free and Clear of
                 All Interests

                19.      Pursuant to Section 363(f) of the Bankruptcy Code, the trustee may sell

property free and clear of any interest in such property in an entity other than the estate if (1)

permitted under applicable non-bankruptcy law; (2) the party asserting such interest consents; (3)

the interest is a lien and the purchase price at which the property is to be sold is greater than the

aggregate value of all liens on the property; (4) the interest is the subject of a bona fide dispute; or

(5) the party asserting the interest could be compelled, in a legal or equitable proceeding, to accept

a money satisfaction for such interest. See In re Smart World Techs., LLC, 423 F.3d 166, 169 n.3

(2d Cir. 2005) (Section 363 permits sales of assets free and clear of claims and interests . . . It thus

allows purchasers . . . to acquire assets [from a debtor] without any accompanying liabilities.”); see

also In re MMH Auto. Group, LLC, 385 B.R. 347, 367 (Bankr. S.D. Fla. 2008).


                20.      The Trustee states that the Trustee shall satisfy Section 363(f)(2) of the

 Bankruptcy Code because the Secured Creditor consents to a sale of the property under Section

 363(f)(2) of the Bankruptcy Code, free and clear of all liens, claims, encumbrances, and

 interests.

                21.        The Trustee requests that any creditor (other than the Secured Creditor)


 2
   Acceptance of a “back-up” bid and proceeding to consummate a transaction with the “back-up” bidder shall be
 without prejudice to any claim of the Trustee against the winning bidder for failing to proceed. All rights are
 reserved.
                                                      8
                 Case 6:16-bk-06473-CCJ               Doc 66       Filed 10/03/17        Page 9 of 12



    asserting an interest or secured claim against the Property, after proper notice is given, be

    required to timely assert and substantiate the basis for such asserted interest or secured claim, by

    filing and serving responsive papers no later than 5 days prior to the hearing on the instant

    Motion, or the Court will authorize the sale of the Property free and clear of any such asserted

    interest or security interest, with such claims, at best, being treated as a general unsecured

    claim. 3 Failure to object after proper notice and opportunity to object is deemed consent. See

    BAC Home Loans Servicing LP v. Grassi, 2011 WL 6096509 (1st Cir. BAP Nov. 21, 2011);

    Citicorp Homeowners Servs., Inc. v. Elliott, 94 B.R. 343 (E.D. Pa. 1988); In re Gabel, 61 B.R.

    661 (Bankr. W.D. La. 1985); Futuresourse LLC v. Reuters Ltd., 312 F.3d 281 (7th Cir.); In re

    Harbour E. Dev., Ltd., 2012WL1851015, at *12 (Bankr. S.D. Fla., May 21, 2012).

                    22.       Accordingly, under Section 363(f)(2) of the Bankruptcy Code, the Trustee,

    seeks authority to sell the Property free and clear of all liens, claims, encumbrances, and interests

    but otherwise “As-Is, Where-Is” and without representations or warranties of any type given by

    the Trustee or his/her professionals. Notwithstanding that the Trustee will seek authority to

    execute all documents and instruments the Trustee deems reasonable, necessary and/or desirable

    to close the sale, the only documents that the Trustee shall be required to deliver to close shall be

    (a) a Trustee’s Deed, and (b) a copy of the Final Sale Order.

                     23.       The Secured Creditor agrees to pay at closing (1) all outstanding real

    estate taxes, including any prorated amounts due for the current tax year; (2) all HOA fees

    required be paid under applicable state and federal law, including any post-petition HOA fees

    required to be paid under applicable state and federal law and (3) all closing costs excluding

    professional fees, but including State Documentary Stamps for the entire closing price pursuant

    to Florida Statue Sections 201.01 and 201.02; (4) the Bankruptcy Estate Fee to the Trustee (as

    detailed in para. 17 above). Any payments by the Secured Creditor as stated herein shall be

3
    The Trustee reserves the right to dispute the alleged amount
                                                             9 of any such claim both as to validity and amount.
            Case 6:16-bk-06473-CCJ          Doc 66     Filed 10/03/17     Page 10 of 12



 subject to any and all limitations on the Secured Creditor’s liability for any fees and costs under

 applicable law.

                C.     The Sale Will Be Undertaken by the Buyer in Good Faith

                24.     Section 363(m) of the Bankruptcy Code protects a good faith purchaser’s

 interest in property purchased from a debtor notwithstanding that the sale conducted under

 section 363(b) was later reversed or modified on appeal.

                25.      The sale should be found to have been in good faith if the Trustee can

 demonstrate the transaction occurred at arm’s-length and without fraud or collusion. See Kabro

 Assocs. of West Islip, LLC v. Colony Hill Assocs. (In re Colony Hill Assocs.), 111 F.3d 269, 276

 (2d Cir. 1997) (“Typically, the misconduct that would destroy a purchaser’s good faith status at a

 judicial sale involves fraud, collusion between the purchaser and other bidders or the trustee, or

 an attempt to take grossly unfair advantage of other bidders.” (citation omitted)); see also In re

 Lorraine Brooke Associates, Inc., No. 07-12641 2007 WL 2257608 (Bankr. S.D. Fla. Aug. 2,

 2007) (holding that a sale was entitled to the protections of Section 363(m) of the Bankruptcy

 Code when it was based upon arm’s length bargaining and without collusion).

               26.      The Trustee asserts that the sale of the Property pursuant to the Online

Sale will utilize a competitive and transparent marketplace that facilitates an arm’s-length

sale without fraud or collusion. Accordingly, the Trustee respectfully requests that the Court find

that the purchaser(s) will be entitled to the protections of Section 363(m) of the Bankruptcy Code.

                27.     The Trustee further states that:

                (a)     the Trustee has reviewed the tax implications of the proposed Sale and has

 determined that the proposed sale will not result in a capital gains tax event to the estate or other

 taxable event which would negate the benefit realized from the Bankruptcy Estate Fee ;

                (b)      the Trustee has determined, based upon a review of the schedules and

 information derived from the 341 meeting, that there will likely be a meaningful distribution to
                                              10
             Case 6:16-bk-06473-CCJ         Doc 66     Filed 10/03/17     Page 11 of 12



 creditors based upon the understanding that the final sale price and the total dollar amount of

 claims to be filed in this case are both unknown and can only be estimated at this time; and

                  (c)     Given the information available at this time, the Trustee has made an

 educated evaluation and determined that the proposed Sale is in the best interest of the estate and

 its creditors.

                  28.   The Trustee respectfully requests that this Court: (a) waive the 14-day stay

pursuant to Rule 6004(h), deem the sale order enforceable immediately upon entry, and authorize

the Trustee to close on the sale immediately upon entry of the Final Sale Order; (b) authorize the

Trustee to take all actions and execute all documents the Trustee deems reasonable, necessary

and/or desirable to effectuate the requested relief; (c) retain sole and exclusive personal subject

matter jurisdiction to implement, interpret and enforce the terms of the this Motion and the Final

Sale Order; and (d) adjudicate all claims, controversies and/or disputes arising from or related to the

proposed sale.

                                            CONCLUSION

        For the foregoing and all other necessary and proper purposes, the Trustee requests that the

Court enter an order (i) approving the Online Sale of the Property to any qualified Third Party

Buyer that submits a winning bid for the Property, (ii) approving the Online Sale of the Property to

the Secured Creditor if it submits the winning bid, (iii) approving the "Bankruptcy Estate Fee" as

detailed in paragraph 17; and (iv) granting such other and further relief as this Court deems just and

equitable.

  Date: October 3, 2017




                                                 11
           Case 6:16-bk-06473-CCJ         Doc 66      Filed 10/03/17    Page 12 of 12



                                                     Respectfully submitted,

                                                     /s/ Kristen L. Henkel
                                                     Kristen L. Henkel, Esquire
                                                     Florida Bar No. 81858
                                                     M. E. Henkel, P.A.
                                                     3560 S. Magnolia Ave.
                                                     Orlando, Florida 32806
                                                     Telephone: 407-438-6738
                                                     Facsimile : 407-858-9466
                                                     khenkel@mehenkel.com




                                   CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on October 3, 2017, a true and correct copy of the foregoing
Chapter 7 Trustee’s Motion to Approve (A) An Online Sale of Real Property Free and Clear of
Liens, Claims, Encumbrances, and Interests Pursuant to 11 U.S.C. § 363(b), (f), (k), and (m);
(B) Bid Procedures; (c) Surcharge Agreement Between Secured Lender and the Estate; (D)
Secured Lender’s Right to Credit Bid; and (E) Other Relief, has been filed with the Court and
furnished via electronic noticing through the CM-ECF System to all parties requesting such notice
and via first class U.S. Mail postage-prepaid, to all parties-in-interest not receiving electronic
notices, who are listed in the matrix attached hereto and obtained from the U. S. Clerk of the
Bankruptcy Court on October 3, 2017.

Additional copies furnished by Certified Mail to : U.S. Bank National Association, As Trustee, on
Behalf of the Holders of the Home Equity Asset Trust 2007-3 Equity Pass-Through Certificates,
Series 2007-3, 3815 SW Temple, Salt Lake City, UT 84115.


                                                            /s/ Kristen L. Henkel
                                                            Kristen L. Henkel




                                                12
